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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                               )
                                                        )       Case No. 16-20584 TPA
   Tonya M. Friend,                                     )       Chapter 7
         Debtor                                         )       Docket No.
                                                        )
   Tonya M. Friend,                                     )
         Movant                                         )
                                                        )
            VS.                                         )
                                                        )
   Ally Bank, Borough of Wilkinsburg, and Select        )
   Portfolio Servicing,                                 )
           Respondents                                  )


       STATEMENT OF INTENTIONS REGARDING SECURED CREDITORS

            AND NOW, comes the debtor, Tonya M. Friend, by and through her attorney

   Kenneth Steidl, and Steidl and Steinberg, and respectfully represents as follows:

            1.     Attached is the debtor’s statement of intentions regarding secured

                   creditors.

            WHEREFORE, the debtor, Tonya M. Friend, respectfully file this Statement of

   Intentions Regarding Secured Creditors.

                                                 Respectfully submitted,

   October 14, 2019                              /s/ Kenneth Steidl
   DATE                                          Kenneth Steidl, Esquire
                                                 Attorney for the Debtors
                                                 Suite 2830 – Gulf Tower
                                                 707 Grant Street
                                                 Pittsburgh, PA 15219
                                                 PA I. D. No. 34965
                                                 Ken.steidl@steidl-steinberg.com
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 Fill in this information to identify your case:

 Debtor 1                  Tonya M. Friend
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF PENNSYLVANIA

 Case number            16-20584
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Ally Bank                                           Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                           Retain the property and enter into a         Yes
                   2010 Jeep Liberty 125,000 miles                          Reaffirmation Agreement.
    property       Location: 1511 Graham                                   Retain the property and [explain]:
    securing debt: Boulevard, Pittsburgh PA 15235



    Creditor's         Borough of Wilkinsburg                              Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        1511 Graham Boulevard                             Reaffirmation Agreement.
    property              Pittsburgh, PA 15235 Allegheny                   Retain the property and [explain]:
    securing debt:        County


    Creditor's         Select Portfolio Servicing &                        Surrender the property.                      No
    name:              Citibank                                            Retain the property and redeem it.
                                                                                                                         Yes
                                                                           Retain the property and enter into a
    Description of        1511 Graham Boulevard                              Reaffirmation Agreement.
                          Pittsburgh, PA 15235 Allegheny

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 Debtor 1      Tonya M. Friend                                                                       Case number (if known)    16-20584

     property           County                                            Retain the property and [explain]:
     securing debt:



     Creditor's    Wilkinsburg Borough                                    Surrender the property.                                 No
     name:                                                                Retain the property and redeem it.
                                                                          Retain the property and enter into a                    Yes
     Description of     1511 Graham Boulevard                              Reaffirmation Agreement.
     property           Pittsburgh, PA 15235 Allegheny                    Retain the property and [explain]:
     securing debt:     County

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Tonya M. Friend                                                          X
       Tonya M. Friend                                                                  Signature of Debtor 2
       Signature of Debtor 1

       Date        October 14, 2019                                                 Date



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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